     Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 1 of 15
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                       July 24, 2024
                        UNITED STATES DISTRICT COURT
                                                                                    Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

KENNEDY F. AMBROISE, ET AL.,                    §
    Plaintiffs,                                 §
                                                §
v.                                              §      CIVIL ACTION NO. 4:23-CV-04130
                                                §
U.S. BANK TRUST NATIONAL                        §
ASSOCIATION, ET AL.,                            §
      Defendants.                               §

                  MEMORANDUM AND RECOMMENDATION

       This case in which pro se Plaintiffs Kennedy F. Ambroise and Paul-Douglas

Celestine claim rights to property due to fraud and adverse possession is before the

Court on Defendants’ Motion to Dismiss.1 ECF 7. By way of response, Plaintiffs

filed a pleading titled “Multi-motion Motion in objection to the Plaintiff’s motion

for judgment due to jurisdiction Defendant’s motion for summary judgment and

Motion to dismiss due to fraud.” ECF 11. This “Multi-motion” was filed in Cause

No. 1221854 in the county court at law (3) in Harris County, Texas on April 1, 2024,

and then filed in this action on April 3, 2024. Id. at 1. The plaintiff in Cause No.

1221854 is ME Alpha 11, LLC, and the defendants are Ambroise and Celestine. Id.

Although the “Multi-motion” does not directly respond to the issues raised in the



1
 The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 4.
       Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 2 of 15




Motion to Dismiss, it is the only document Plaintiffs’ have filed that can be

reasonably construed as a response, and thus the Court hereafter will refer to the

“Multi-motion” as the Response. Having reviewed the parties’ submissions and the

law, the Court recommends that the Motion to Dismiss be granted and this case be

dismissed with prejudice.

      I.      Factual and Procedural Background

           On October 31, 2023, Plaintiffs filed a Complaint titled “Federal Lawsuit for

Fraud, Theft, and Rico Violations.” ECF 1. The Complaint alleges that certain

property located at 9122 Edgelock Drive, Spring Texas, 77379 (the Property) is

“owned by Kennedy F. Ambroise under the Law of Salvage [Maritime Law]; and

Texas Law: Adverse Possession.”2 Id. at 1. Plaintiffs claim that Defendants have

no ownership rights in the Property and “can’t sell property that they don’t own.”

Id.        The Complaint alleges very few supporting facts, but an attachment to the

Complaint, which appears to be an Order signed in state court on May 23, 2023,

indicates that Ambroise as of that date had been living at the Property and taking

care of it for two and a half years. ECF 1 at 4-5.

           Although Plaintiffs filed this suit in October 2023, the dispute over

Defendants’ rights to the Property go back years and is reflected in court documents



2
    Maritime law and the law of salvage do not apply to this case.


                                                      2
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 3 of 15




of which the Court takes judicial notice. On December 6, 2006, Michael Seaborn

executed a note in the amount of $147,819.00 secured by a deed of trust on the

Property. Williams v. Fay Servicing, LLC et al., Civil Action No. 4:22-cv-02390,

slip op. (S.D. Tex. March 29, 2023) (ECF 13). Seaborn entered a loan modification

in 2017 at which point the loan balance was $183,178.71. Id. Seaborn defaulted on

the loan and received notice of non-judicial foreclosure on the Property. Id. To stop

foreclosure, Seaborn filed a lawsuit in Texas state court and the defendants removed

the lawsuit to federal court. Id. Seaborn’s lawsuit was dismissed with prejudice in

accordance with the parties’ Joint Stipulation of Dismissal.        Seaborn v. Fay

Servicing, LLC, et al., Civil Action No. 4:21-cv-01998, order (S.D. Tex. May 26,

2022) (ECF 14).

      On June 30, 2022, an individual named Eno Williams filed an Original

Petition in state court seeking to stop the foreclosure sale of the Property scheduled

for July 5, 2022. Williams v. Fay Servicing, LLC et al., Civil Action No. 4:22-cv-

02390, Notice of Removal (ECF 1-4). Williams alleged that he “acquired an interest

in the property from Michael J. Seaborn, Jr.” and “[t]he security instruments which

are the basis for the Defendants, authorizing them to sell” the Property are

fraudulent. Id. After the Williams case was removed to federal court, on March 29,

2023, the court granted the defendants’ motion to dismiss on grounds of res judicata

because Williams was Seaborn’s successor in interest. Id. at ECF 13. Plaintiffs’


                                          3
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 4 of 15




filed this lawsuit about seven months later. To date, it does not appear that a

foreclosure sale and eviction have occurred because Plaintiffs list the Property as

their address on the docket sheet for this case.

   II.      Rule 12(b)(6) Standards

         To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the conduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009); Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009). In reviewing a

motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), this Court accepts

all well-pleaded facts as true, viewing them in the light most favorable to the

plaintiff. Alexander v. AmeriPro Funding, Inc., 48 F.3d 68, 701 (5th Cir. 2017)

(citing Martin K. Eby Constr. Co. v. Dallas Area Rapid Transit, 369 F.3d 464, 467

(5th Cir. 2004)). However, the court does not apply the same presumption to

conclusory statements or legal conclusions. Iqbal, 556 U.S. at 678-79. The Court

applies a more lenient standard when analyzing the pleadings of pro se plaintiffs, but

they “must still plead factual allegations that raise the right to relief beyond the

speculative level.” Chhim v. Univ. of Texas at Austin, 836 F.3d 467, 469 (5th Cir.

2016) (citing Taylor v. Books A Million, Inc., 296 F.3d 376, 378 (5th Cir. 2002)).


                                            4
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 5 of 15




      Generally, in ruling on a Rule 12(b)(6) motion, the court may consider only

the allegations in the complaint and any attachments thereto. If a motion to dismiss

refers to matters outside the pleading it is more properly considered as a motion for

summary judgment. See Fed. R. Civ. P. 12(d). However, the court may take judicial

notice of public documents, and may also consider documents a defendant attaches

to its motion to dismiss under 12(b)(6) if the documents are referenced in the

plaintiff’s complaint and central to the plaintiffs’ claims. See Norris v. Hearst Trust,

500 F.3d 454, 461 n.9 (5th Cir. 2007); Collins v. Morgan Stanley Dean Witter, 224

F.3d 496, 499 (5th Cir. 2000); King v. Life Sch., 809 F. Supp. 2d 572, 579 n.1 (N.D.

Tex. 2011). In this case, the Court takes judicial notice of the court filings and

rulings attached as Exhibits A-F to Defendants’ Motion to Dismiss.

   III.   Analysis

      Plaintiffs’ Original Complaint does not clearly identify any cause of action.

The Court construes it to seek: a declaration that Defendants’ do not have the right

to foreclose on the Property because (1) they acquired the deed of trust by fraud and

(2) Ambroise owns the property by adverse possession, and (3) injunctive relief

barring foreclosure on the Property. Defendants move to dismiss this case on

grounds that Plaintiffs: (1) lack of standing to contest assignment of the deed of trust

to Defendants as fraudulent; (2) cannot state a claim for adverse possession, and (3)




                                           5
     Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 6 of 15




are precluded by the res judicata effect of the prior federal court judgments.3 ECF

7.

       At the outset the Court addresses two threshold issues. First, Plaintiff’s

Complaint identifies the Defendants as U.S. Bank Trust National Association, Fay

Servicing LLC, Trustee of Citi Group Mortgage Loan Trust, and U.S. Bank Trust

Company, National Association. ECF 1 at 1. Defendants filed the Motion to

Dismiss in their proper names and do not assert errors in naming the parties or in the

form or manner of service as grounds for dismissal. See ECF 4 at 1and n.1. Plaintiffs

do not challenge Defendants’ representations regarding the proper names of the

Defendants. Thus, the proper names of Defendants in this case are U.S. Bank Trust,

National Association, not in its Individual Capacity, but Solely as Trustee of

Citigroup Mortgage Loan Trust 2019-E, and Fay Servicing, LLC. The Court directs

the clerk to edit the docket to correctly name the Defendants.

       Second, the Court notes that both Plaintiffs’ Complaint and Response are

devoid of any allegation that Celestine has an interest in the Property. See ECF 1;

ECF 11. Celestine’s claims should be dismissed for this reason as well as those set

forth below.




3
  Although res judicata is an affirmative defense, “dismissal under Rule 12(b)(6) is appropriate if
the res judicata bar is apparent from the complaint and judicially noticed facts and the plaintiff
fails to challenge the defendant's failure to plead it as an affirmative defense.” Doe v. Univ. N. Tex.
Health Science Ctr., No. 23-10764, 2024 WL 3427049, at *3 (5th Cir. July 16, 2024).
                                                  6
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 7 of 15




         A. As non-parties to the assignment of the deed of trust Plaintiffs lack
            standing to challenge it.

      Plaintiffs are not parties to the assignment to Defendants of the note and deed

of trust that Seaborn executed in 2006. ECF 1; ECF 11 at 1. Thus, Plaintiffs have

no standing to contest the assignment of the lien to Defendants. Reinagel v.

Deutsche Bank Nat. Tr. Co., 735 F.3d 220, 228 (5th Cir. 2013) (holding that “under

Texas law, facially valid assignments cannot be challenged for want of authority

except by the defrauded assignor.”). Plaintiffs’ do not allege or argue that fraud in

the assignment rendered the lien “void” as opposed to “voidable” and therefore

outside of the Reinagel ruling. See Lopez v. Sovereign Bank, N.A., No. CIV.A. H-

13-1429, 2014 WL 7446746, at *8 (S.D. Tex. Dec. 31, 2014) (discussing Reinagel

and holding that the plaintiffs’ failure to adequately allege details of the fraud

rendered any possible distinction of “void” v. “voidable” liens irrelevant.). They

also do not allege or argue that they fall outside of the Reinagel ruling because they

are third-party beneficiaries of the assignment. See Sigaran v. U.S. Bank Nat. Ass'n,

560 F. App'x 410, 413 (5th Cir. 2014) (holding that plaintiff who failed to argue

third-party beneficiary status did not have standing to challenge assignment of lien).

         B. Plaintiffs lack standing because they have not acquired an interest
            in the property by adverse possession.

      Plaintiffs further lack standing to challenge Defendants’ foreclosure rights

because they do not, and cannot, plausibly allege that Ambroise acquired an interest


                                          7
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 8 of 15




in the property through adverse possession. Adverse possession is defined in the

Texas Civil Practice and Remedies Code as “actual and visible appropriation of real

property, commenced and continued under a claim of right that is inconsistent with

and is hostile to the claim of another person.” TEX. CIV. P. & REM. CODE §

16.021(1).   Texas law requires a party claiming title to property by adverse

possession to show “(1) actual and (2) visible possession that is (3) under a claim of

right, (4) hostile to another's claim to the property, and (5) peaceable for the

applicable limitations period.” Luminant Mining Co., L.L.C. v. PakeyBey, 14 F.4th

375, 380 (5th Cir. 2021) (citing Nat. Gas Pipeline Co. of Am. v. Pool, 124 S.W.3d

188, 193 (Tex. 2003)). The applicable limitation period for adverse possession

varies depending on the facts claimed by the possessor as establishing its interest in

the property. Id. If the possessor claims an interest under “title or color of title[,]”

it must possess the land for three years. TEX. CIV. P. & REM. CODE § 16.024. If a

possessor claims an interest because he “cultivates, uses, or enjoys the property” and

pays “applicable taxes on the property” while claiming “the property under a duly

registered deed[,]” the applicable period is five years. Id. § 16.025.        But, if a

possessor merely “cultivates, uses, or enjoys the property[,]” the applicable period

for adverse possession is ten years. Id. § 16.026. In sum, adverse possession

requires Plaintiffs to allege and show they took actions to assert an unmistakable

claim of exclusive ownership to the Property for a period anywhere from three to ten


                                           8
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 9 of 15




years, depending on the nature of their alleged possessory acts. BP Am. Prod. Co.

v. Marshall, 342 S.W.3d 59, 71 (Tex. 2011).

      But first, Plaintiffs cannot satisfy the third and fourth elements of an adverse

possession claim because they do not allege or argue that they possessed the Property

under a claim to ownership that was hostile to another’s rights. In order to establish

adverse possession, “[t]he possession must be of such character as to indicate

unmistakably an assertion of a claim of exclusive ownership in the occupant.”

Villarreal v. Guerra, 446 S.W.3d 404, 410 (Tex. App. 2014) (quoting BP Am. Prod.

Co. v. Marshall, 342 S.W.3d 59, 70 (Tex.2011) (emphasis in original)). Plaintiffs

also do not allege or argue that their possession was at any time “hostile to another’s

claim to the property.” The test for hostility is whether the possessor’s acts on and

use of the property “were of such a nature and character as to reasonably notify the

true owner of the land that a hostile claim was being asserted to the property.” Id.

Plaintiffs do not allege that they gave constructive or actual notice that they

repudiated Seaborn’s (or anyone elses’s) title during their period of possession. In

fact, Plaintiffs’ Complaint alleges they were tenants who consistently paid rent for

possession of the Property, a fact which would negate hostile possession. See ECF

1 at 4 (asserting payment of more than $50,000 in rent).

      Plaintiffs also cannot satisfy the fifth element of adverse possession, i.e., that

they possessed the Property for the required period of time for their particular


                                           9
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 10 of 15




adverse possession claim. The Complaint alleges only that “[t]he [P]roperty was

abandoned 4.5 years ago and is owned by Kennedy F. Ambroise under the Law of

Salvage [Maritime Law]; and Texas Law: Adverse Possession.” ECF 1 at 1. An

attachment to the Complaint dated May 24, 2023, contains the assertion that

“[Ambroise has] lived at his residence two and a half years . . . [and] has been at this

residence taking care of it, cleaning it, repairing it . . ..” Id. at 4. The Response

contains no factual allegations supporting Plaintiffs’ claim of adverse possession.

See ECF 11. According to the attachment, at the time Plaintiffs filed the Complaint

in this case they had been in possession the property for about 3 years. Plaintiffs do

not claim ownership under title or color of title and therefore the three-year period

in § 16.024 does not apply. Plaintiffs’ do not allege they paid taxes on the Property

and therefore the five-year period in § 16.025 does not apply. Plaintiff’s own

statements establish they have not been in possession of the Property long enough

to satisfy the 5-year applicable period under § 16.025, much less the 10-year period

applicable under § 16.026.

      Plaintiffs have not pled facts that could satisfy the elements of an adverse

possession claim and show a plausible claim to an ownership interest in the Property.

Thus, they lack standing to challenge Defendants’ right to foreclose on the Property.




                                          10
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 11 of 15




          C. Plaintiff’s claims are barred by res judicata.

      Finally, Plaintiffs’ claims in this case are barred by res judicata. The doctrine

of res judicata bars relitigation of claims that either have already been litigated or

should have been litigated in an earlier lawsuit. Test Masters Educ. Servs., Inc. v.

Singh, 428 F.3d 559, 571 (5th Cir. 2005). In order to establish that Plaintiffs’ claims

are barred by res judicata, Defendants must show “(1) the parties are identical or in

privity; (2) the judgment in the prior action was rendered by a court of competent

jurisdiction; (3) the prior action was concluded by a final judgment on the merits;

and (4) the same claim or cause of action was involved in both actions.” Id. The res

judicata effect of a prior judgment is a question of law. Id.

      All elements of res judicata are satisfied in this case. First, the Defendants

here were also defendants in Seaborn and Williams. The Plaintiffs were not parties

in either prior case. However, the Fifth Circuit has held that privity exists for

purposes of res judicata where the non-party is the successor in interest to a party's

interest in property. Meza v. Gen. Battery Corp., 908 F.2d 1262, 1266 (5th Cir.

1990); Sampson v. U.S. Bank NA as Tr. for Truman 2016 SC6 Title Tr., No.

420CV00493ALMCAN, 2021 WL 1321343, at *6 (E.D. Tex. Mar. 15, 2021), report

and recommendation adopted, No. 4:20-CV-493, 2021 WL 1316969 (E.D. Tex. Apr.

8, 2021). If, as Ambroise alleges, he acquired an ownership interest in the Property




                                          11
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 12 of 15




through adverse possession, then, like Williams, he is a successor in interest to

Seaborn. Thus, the first element of the res judicata analysis is satisfied.

       Second, there is no question that the Southern District of Texas, which issued

both the Seaborn and Williams judgments, was a court of competent jurisdiction.

Third, both Seaborn and Williams concluded with final judgments on the merits. A

dismissal with prejudice is an adjudication on the merits. Portillo v. Cunningham,

872 F.3d 728, 736 (5th Cir. 2017); Kononen v. Texas Dep't of State Health Servs.,

No. H-20-2842, 2021 WL 3713473, at *4 (S.D. Tex. July 28, 2021), report and

recommendation adopted, No. CV H-20-2842, 2021 WL 3713062 (S.D. Tex. Aug.

19, 2021).

       Finally, the same claim made here, that Defendants do not have the right to

foreclose on the Property due to fraud, was at issue in Seaborn and Williams. When

considering whether two suits involve the same cause of action for purposes of res

judicata, courts apply the transactional test. Test Masters Educ. Servs., Inc., 428 F.3d

at 571. Under the transactional test, “a prior judgment's preclusive effect extends to

all rights of the plaintiff with respect to all or any part of the transaction, or series of

connected transactions, out of which the original action arose.” Id. Seaborn’s

Original Petition asserted that Defendants did not have authority to foreclose on the

Property because the “chain of title is broken from the original lender to due to [sic]

an invalid deed of trust and assignments,” and that the “security instruments which


                                            12
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 13 of 15




are the basis for the Defendants, authorizing them to sell Plaintiff’s property at a

foreclosure sale are fraudulent.” Seaborn, Civil Action No. 4:21-cv-1998, ECF 1-1

at 7, 9. Seaborn’s Original Petition also asserted claims for statutory fraud, common

law fraud, breach of contract, and quiet title. Id. at 10-13. In his Prayer for Relief,

Seaborn sought a declaration that Defendants did not have the power of sale pursuant

to the deed of trust, as well as actual damages, exemplary damages, and temporary

and permanent injunctive relief.       Id. at 16.    Williams’s Original Petition is

substantially identical to that filed by Seaborn and includes, word for word, the same

allegations, causes of action, and prayer for relief as asserted by Seaborn. Williams,

Civil Action No. 4:22-cv-2390, ECF 1-4.             Here, Plaintiffs assert that “the

Assignment of Deed of Trust is fraud in its operation” and Defendants do not have

the power to sell the Property. ECF 1. Like Seaborn and Williams, Plaintiffs here

seek a declaration that Defendants do not have the power to sell the Property. The

fourth element of the res judicata analysis is satisfied.

      To counter the argument that the prior lawsuits resulted in valid final

judgments on the merits, Plaintiffs’ Response raises a claim not in the Complaint.

Plaintiffs contend that Defendants committed fraud on the court in the Williams case

because they knew that Ambroise claimed ownership of the Property. ECF 11 at 1-

2. The type of fraud alleged by Plaintiffs, i.e., fraud in the conduct of prior

proceedings, cannot be used to collaterally attack the prior judgment.


                                           13
    Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 14 of 15




      The Fifth Circuit “recognizes a narrowly limited independent action to set

aside a judgment for fraud on the court,” which applies only where the fraud

“defile[s] the court itself, or is fraud perpetuated by officers of the court so that the

judicial machinery cannot perform in the usual manner its impartial task of

adjudging cases that are presented for adjudication.” Lall v. Bank of New York

Mellon as trustee to JPMorgan Chase Bank, N.A., 783 F. App'x 375, 379 (5th Cir.

2019) (citations omitted). “The Fifth Circuit has held that fraud on the court involves

a high degree of misconduct.” Weatherford Int'l, Inc. v. Casetech Int'l, Inc., No.

CIV.A.H-03-5383, 2005 WL 1745457, at *2 (S.D. Tex. July 25, 2005).

      To establish fraud on the court, it is necessary to show an
      unconscionable plan or scheme which is designed to improperly
      influence the court in its discretion. Generally speaking, only the most
      egregious misconduct, such as bribery of a judge or members of a jury,
      or the fabrication of evidence by a party in which an attorney is
      implicated, will constitute a fraud on the court. Less egregious
      misconduct, such as nondisclosure to the court of facts allegedly
      pertinent to the matter before it, will not ordinarily rise to the level of
      fraud on the court.

Id. (emphasis added) (citations omitted). Plaintiffs’ Complaint and Response come

nowhere near alleging intrinsic fraud that cast doubt on the validity of the prior final

judgments. In addition, Plaintiffs’ contention that Ambroise owns the property

through adverse possession—the “fact” they claim was ignored by Defendants in the

prior lawsuits—was not established as true at the time the prior judgments were

entered.

                                           14
   Case 4:23-cv-04130 Document 14 Filed on 07/24/24 in TXSD Page 15 of 15




   IV.    Conclusion and Recommendation

      For the reasons set forth above, the Court INSTRUCTS the Clerk of the Court

to edit the docket to correctly name the Defendants in this case as U.S. Bank Trust,

National Association, not in its Individual Capacity, but Solely as Trustee of

Citigroup Mortgage Loan Trust 2019-E, and Fay Servicing, LLC. The Court

RECOMMENDS that Defendants’ Motion to Dismiss (ECF 7) be GRANTED and

Plaintiffs’ claims be DISMISSED WITH PREJUDICE in their entirety.

      The Clerk of the Court shall send copies of the memorandum and

recommendation to the respective parties, who will then have fourteen days to file

written objections, pursuant to 28 U.S.C. § 636(b)(1)(C). Failure to file written

objections within the time period provided will bar an aggrieved party from attacking

the factual findings and legal conclusions on appeal. Douglass v. United Servs. Auto.

Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc), superseded by statute on

other grounds.


Signed on July 24, 2024, at Houston, Texas.



                                                        Christina A.
                                                                  A Bryan
                                                   United States Magistrate Judge




                                              15
